Case 2:03-CV-02605-.]DB-STA Document 44 Filed 08/02/05 Page 1 of 2 Page|D 190

 
 

UNITED STA TES DISTRICT COURT F"'ED By lQ'Ej-.. D.C.
WESTERN DISTRICT 0F TENNESSEE 05 AUG __2 PH h 5
WESTERN DMSION ' 5
WO'W.S a conn
! _\h J"';:Mr§;,r\.}~
wm Q~C ti=."§i)?'!i$
CITICAPITAL COMMERCIAL CORPORATION JUDGMENT IN A CIVIL CASE '
f/k/a ASSOCIATES COMMERCIAL CORPORATION;
CITICAPITAL COMMERCIAL LEASING
CORPORATION f/k/a ASSOCIATES LEASING, ]NC.;
land CITICORP DEL-LEASE, INC.,
Plaintiffs,
V.
CTK, ]NC. dfb/a LIFT X TECHNOLOGY and d/b/a CASE NO: 2:03cv2605-B

TOYOTA LIFT SOUTH; CTK SERVICES, LLC;
EQU[PMENT ENGINEERING COMPANY;
BERNARD PANCHIKAL, individually and d/b/a
LIFT TRUCK SERVICE & RENTALS; and
GEORGE TERRELL,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Coui*c. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AN]) ADJUDGED that in accordance with the Stipulated Consent Order Of
FFRCP 4](a) Dismissal Without Prejudice entered on August ], 2005, this cause is hereby dismissed
Without prejudice.

A ()VED:
/ M/\
J. NIEL BREEN
UN ED STATES DISTRICT COURT TI"DMS M. mo

@§
te Clerk of Court

(By) Deputy Clerk 2

 

 

 

Tnis document entered on the docket web ln com silence
with Huie 58 and/or 79(a) FP\CP On

 

   

UNDITE STATES DSTRICT OURT - WETNDISTCRIT oF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CV-02605 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Chris W. Dotson

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

Memphis7 TN 38103

Louis J. Miller

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

Memphis7 TN 38119--397

Robert F. Miller

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

